                                UNITED STATES DISTRICT COURT
 1
                                 WESTERN DISTRICT OF TEXAS                21119   JUL 18   PM 3:2   I
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     Federal Trade Commission, and
 3                                                                                                LXAS

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     State of Ohio cx rd. Attorney General
     Dave Yost,                                          No.
                                                                         ___LERK
                                                                 :19-CV-____________
 5
                        Plaintiffs,
 6                                                    [PROPOSEDJ
     V.

7                                           EX PARTE TEMPORARY
     Madera Merchant Services, LLC, dba E RESTRAINING ORDER WITH ASSET
 8
     Check Processing and
                                            FREEZE, APPOINTMENT OF A
     echeckprocessing.net, a Texas company,
                                            TEMPORARY RECEIVER, AND
9                                           OTHER EQUITABLE RELIEF, AND
     B&P Enterprises, LLC, a Texas          ORDER TO SHOW CAUSE WHY A
10
     company,
                                            PRELIMINARY INJUNCTION
11                                          SHOULD NOT ISSUE
     Bruce C. Woods, individually and as an
12
     owner, officer, member, and/or manager
                                                   (FILED UNDER SEAL)
13   of Madera Merchant Services, LLC and
     B&P Enterprises, LLC,
14
     Patricia Woods, individually and as an
15   owner, manager, and/or member of
     Madera Merchant Services, LLC and
16
     B&P Enterprises, LLC,
17
     and
18
     Victor Rodriguez, individually and as an
19   officer, member, and/or manager of
20   Madera Merchant Services, LLC and
     B&P Enterprises, LLC,
21
                        Defendants.
22
              Plaintiffs, Federal Trade Commission ("FTC") and the State of Ohio (collectively,
23

24   "Plaintiffs"), have filed their Complaint for Permanent Injunction and Other Equitable

25   Relief under Section 13(b) and 19 of the FTC Act,   15 U.S.C. § 53(b), 57b, the

26
     Telemarketing and Consumer Fraud and Abuse Prevention Act ("Telemarketing Act"),
27
     15   U.S.C.   §   6101-6108, and Ohio Consumer Sales Practices Act ("CSPA"), R.C.
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                                               1
     1345.07 (Docket No.          ), and have moved, under Fed. R. Civ. P. 65(b), for a

 2   temporary restraining order, asset freeze, other equitable relief, and an order to show

 3   cause why a preliminary injunction should not issue against Madera Merchant Services,

     LLC; B&P Enterprises, LLC; Bruce Woods; Patricia Woods; and Victor Rodriguez
 5
     (collectively, "Defendants") (Docket No.       _____).
 6
                                        FINDINGS OF FACT

 8           The Court, having considered the Complaint, the     exparte   Motion for a

 9   Temporary Restraining Order, declarations, exhibits, and the memorandum of points and
10
     authorities filed in support thereof, and being otherwise advised, finds that:
11
             A.       This Court has jurisdiction Over the subject matter of this case, and there is
12
     good cause to believe that it will have jurisdiction over all parties hereto and that venue in
13

14   this district is proper.

15           B.       Defendants operate a third-party payment processing scheme that uses
16   remotely created payment orders or remotely created checks ("RCPOs") to withdraw
17
     money from consumers' accounts on behalf of third-party merchants. Defendants
18
     routinely withdraw funds from consumers for merchants engaged in fraud or deceptive
19

20   marketing.

21           C.       Defendants routinely provide RCPO payment processing services to
22   telemarketers in violation of the TSR, which expressly prohibits collecting payments
23
     through RCPOs in connection with telemarketing sales. 16 C.F.R. 31 0.4(a)(9). They
24
     have processed more than $8.6 million in RCPO payments generated through
25

26   telemarketing since June 13, 2016, the date when the TSR prohibition on the use of

27   RCPOs in telemarketing transactions went into effect.

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                                                2
              D.     To execute their scheme, Defendants have opened numerous business
 1


 2   checking accounts under various assumed names with numerous banks and credit unions.

 3   Defendants routinely fail to disclose to the financial institutions that the accounts will be
 4
     used to process consumer payments for third-party merchants via RCPOs.
 5
              E.     There is good cause to believe that Defendants have engaged in and are
 6
     likely to engage in acts or practices that violate Section 5(a) of the FTC Act, 15 U.S.C.
 7

 8   §   45(a), the TSR, 16 C.F.R. Part 310, and the Ohio CSPA, R.C. 1345.01     etseq.,   and that

 9   Plaintiffs are therefore likely to prevail on the merits of this action. As demonstrated by
10
     the declarations of bank and credit union employees, declarations of investigators from
11
     the FTC and the Ohio Attorney General's Office, bank records, and other documentation
12
     filed by Plaintiffs, Plaintiffs have established a likelihood of success in showing that
13

14   Defendants have unlawfully processed consumer payments through RCPOs in violation

15   of the FTC Act, the TSR, and the Ohio CSPA.
16
              F.     There is good cause to believe that immediate and irreparable harm will
17
     result from Defendants' ongoing violations of the FTC Act, the TSR, and the Ohio CSPA
18
     unless Defendants are restrained and enjoined by order of this Court.
19

20            G.     There is good cause to believe that immediate and irreparable damage to

21   the Court's ability to grant effective final relief for consumers   including monetary
22   restitution, rescission, disgorgement or refunds will occur from the sale, transfer,
23
     destruction or other disposition or concealment by Defendants of their assets or records,
24
     unless Defendants are immediately restrained and enjoined by order of this Court; and
25

26
     that, in accordance with Fed. R. Civ. P. 65(b) the interests ofjustice require that this

27   Order be granted without prior notice to Defendants. Thus, there is good cause for
28



                                               3
     relieving Plaintiffs of the duty to provide Defendants with prior notice of its Application
 1


2    for a Temporary Restraining Order.

 3           H.       Good cause exists for appointing a temporary receiver over the

     Receivership Entities, freezing Defendants' assets, permitting the Receiver immediate
5
     access to Defendants' business premises to obtain and take control of Defendants'
6
     business records wherever the records are stored, and permitting the Plaintiffs and the

8    Receiver to take expedited discovery.

9            I.       Weighing the equities and considering Plaintiffs' likelihood of ultimate
10
     success on the merits, a temporary restraining order with an asset freeze, the appointment
11
     of a temporary receiver, immediate access to Defendants' business premises and records,
12
     expedited discovery, and other equitable relief is in the public interest.
13

14           J.       This Court has authority to issue this Order pursuant to Section 13(b) of

15   the FTC Act, 15 U.S.C.       §   53(b); Federal Rule of Civil Procedure 65; and the All Writs
16   Act, 28 U.S.C.       1651.
                      §
17
             K.       No security is required of any agency of the United States for issuance of a
18
     temporary restraining order. Fed. R. Civ. P. 65(c).
19

20                                              DEFINITIONS

21          For the purpose of this Order, the following definitions shall apply:

22          A.        "Corporate Defendants" means Madera Merchant Services, LLC, B&P
23
     Enterprises, LLC, and each of their subsidiaries, affiliates, successors, and assigns.
24
            B.        "Defendants" means the Corporate Defendants and the Individual
25

26   Defendants, individually, collectively, or in any combination.

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                                                   I
             C.      "Document" is synonymous in meaning and equal in scope to the usage of
 1


 2    "document" and "electronically stored information" in Federal Rule of Civil Procedure

 3    34(a), Fed. R. Civ. P. 34(a), and includes writings, drawings, graphs, charts, photographs,
 4
     sound and video recordings, images, Internet sites, web pages, websites, electronic
 5
     correspondence, including e-mail and instant messages, contracts, accounting data,
 6
     advertisements, FTP Logs, Server Access Logs, books, written or printed records,
 7

 8   handwritten notes, telephone logs, telephone scripts, receipt books, ledgers, personal and

 9   business canceled checks and check registers, bank statements, appointment books,
10
     computer records, customer or sales databases and any other electronically stored
11
     information, including Documents located on remote servers or cloud computing
12
     systems, and other data or data compilations from which information can be obtained
13

14   directly or, if necessary, after translation into a reasonably usable form. A draft or non-

15   identical copy is a separate Document within the meaning of the term.
16
             D.     "Electronic Data Host" means any Person in the business of storing,
17
     hosting, or otherwise maintaining electronically stored information. This includes, but is
18
     not limited to, any entity hosting a website or server, and any entity providing "cloud
19

20   based" electronic storage.

21          E.      "Individual Defendants" means Bruce Woods, Patricia Woods, and
22   Victor Rodriguez, individually, collectively, or in any combination.
23
            F.      "Payment Processing" means providing a Person, directly or indirectly,
24
     with means or service used to charge or debit financial accounts through the use of any
25

26   payment method or mechanism, including, but not limited to, credit cards, debit cards,

27   prepaid cards, stored value cards, ACH Debits, Remotely Created Payment Orders, and

28
     Remotely Created Checks. Whether accomplished through the use of software or

 2   otherwise, Payment Processing includes, among other things: (a) reviewing and

 3   approving Merchant applications for payment processing services; (b) providing the

     means to transmit sales transaction data from third-party merchants to banks, credit
 5
     unions, Payment Processors, independent sales organizations, payment facilitators or
 6
     other financial institutions; (c) clearing, settling, or distributing proceeds of sales

 8   transactions from banks, credit unions, or other financial institutions to third-oary

 9   merchants; or (d) processing chargebacks or returned Remotely Created Payment Orders,
10
     checks or Automated Clearing House (ACH) transactions on behalf of third-party
11
     merchants.
12
             G.      "Payment Processor" means any Person providing Payment Processing
13

14   services in connection with another Person's sale of goods or services, or in connection

15   with any charitable donation.
16           H.      "Person" means any natural person or any entity, corporation, partnership,
17
     or association of persons.
18
                     "Remotely Created Payment Order" or "RCPO" means a payment
19

20   instruction or order, whether created in electronic or paper format, drawn on a payor 's

21   account that is initiated or created by or on behalf of the payee, and which is deposited
22   into or cleared through the check clearing system. For purposes of this definition, an
23
     account includes any financial account or credit or other arrangement that allows checks,
24
     payment instructions, or orders to be drawn against it that are payable by, through, or at a
25

26
     bank.

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                                                I
                    "Receiver" means the temporary receiver appointed in Section XII of this
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 2   Order and any deputy receivers that shall be named by the temporary receiver.

 3           K.     "Receivership Entities" means the Corporate Defendants as well as any

     other entity that has conducted any business related to the Defendants' RCPO payment
 5
     processing scheme, including receipt of assets or funds derived from any activity that is
 6
     the subject of the Complaint in this matter, and that the Receiver determines is controlled

 8   or owned by any Defendant.

9           L.      "Seller" means any Person who, in connection with a Telemarketing
10
     transaction, provides, offers to provide, or arranges for others to provide goods or
11
     services to a customers in exchange for consideration.
12
            M.      "Telemarketer" means any Person who, in connection with
13

14   Telemarketing, initiates or receives telephone calls to or from a customer or donor.

15          N.      "Telemarketing" means any plan, program, or campaign that is
16   conducted to induce the purchase of goods or services or a charitable contribution by use
17
     of one or more telephones.
18
                                              ORDER
19

20            I.      PROHIBITION REGARDING PAYMENT PROCESSING

21          IT IS THEREFORE ORDERED that Defendants, Defendants' officers, agents,
22   employees, and attorneys, and all other Persons in active concert or participation with
23
     them, who receive actual notice of this Order by personal service or otherwise, whether
24
     acting directly or indirectly, are temporarily restrained and enjoined from Payment
25

26   Processing.

27

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                                              7
                      II.     PROHIBITIONS ON VIOLATING THE TSR
 1


 2           IT IS FURTHER ORDERED that Defendants, Defendants' officers, agents,

 3   employees, and attorneys, and all other Persons in active concert or participation with

     them, who receive actual notice of this Order by personal service or otherwise, whether
 5
     acting directly or indirectly, in connection with Telemarketing of any product or service,
 6
     are temporarily restrained and enjoined from violating any provision of the TSR, 16

 8   C.F.R. Part 310, attached as Attachment A

 9        III.    PROHIBITION ON RELEASE OF CUSTOMER INFORMATION
10
             IT IS FURTHER ORDERED that Defendants, Defendants' officers, agents,
11
     employees, and attorneys, and all other Persons in active concert or participation with any
12
     of them, who receive actual notice of this Order, whether acting directly or indirectly, are
13

14   hereby temporarily restrained and enjoined from:

15          A.      Selling, renting, leasing, transferring, or otherwise disclosing, the name,
16   address, birth date, telephone number, email address, credit card number, bank account
17
     number, Social Security number, or other financial or identifying information of any
18
     person that any Defendant obtained in connection with any activity that pertains to the
19

20   subject matter of this Order; and

21          B.      Benefitting from or using the name, address, birth date, telephone number,
22   email address, credit card number, bank account number, Social Security number, or
23
     other financial or identifying information of any person that any Defendant obtained in
24
     connection with any activity that pertains to the subject matter of this Order.
25
26          Provided, however, that Defendants may disclose such identifying information to

27   a law enforcement agency, to their attorneys as required for their defense, as required by

28
      any law, regulation, or court order, or in any filings, pleadings or discovery in this action
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 2   in the maimer required by the Federal Rules of Civil Procedure and by any protective

 3   order in the case
 4
                                         IV.    ASSET FREEZE
 5
             IT IS FURTHER ORDERED that Defendants and Defendants' officers, agents,
 6
     employees, and attorneys, and all other Persons in active concert or participation with any
 7

 8   of them, who receive actual notice of this Order, whether acting directly or indirectly, are

 9   hereby temporarily restrained and enjoined from:
10
             A.      Transferring, liquidating, converting, encumbering, pledging, loaning,
11
     selling, concealing, dissipating, disbursing, assigning, relinquishing, spending,
12
     withdrawing, granting a lien or security interest or other interest in, or otherwise
13

14   disposing of any assets that are:

15                   1.   owned or controlled, directly or indirectly, by any Defendant;
16
                     2. held, in part or in whole, for the benefit   of any Defendant;
17
                     3. in the actual or constructive possession     of any Defendant; or
18
                     4. owned or controlled by, in the actual or constructive possession of, or
19

20                        otherwise held for the benefit of, any corporation, partnership, asset

21                        protection trust, or other entity that is directly or indirectly owned,
22                        managed or controlled by any Defendant.
23
             B.      Opening or causing to be opened any safe deposit boxes, commercial mail
24
     boxes, or storage facilities titled in the name of any Defendant or subject to access by any
25

26   Defendant, except as necessary to comply with written requests from the Receiver acting

27   pursuant to its authority under this Order;

28
             C.       Incurring charges or cash advances on any credit, debit, or ATM card
 1


 2   issued in the name, individually or jointly, of any corporate defendant or any corporation,

 3   partnership, or other entity directly or indirectly owned, managed, or controlled by any
 4
     Defendant or of which any Defendant is an officer, director, member, or manager. This
 5
     includes any corporate bankcard or corporate credit card account for which any
 6
     Defendant is, or was on the date that this Order was signed, an authorized signor; or
 7

 8           D.       Cashing any checks or depositing any money orders or cash received from

 9   consumers, clients, or customers of any Defendant.
10
             The assets covered by this Section shall include: (1) all assets of Defendants as of
11
     the time this Order is entered; and (2) assets obtained by Defendants after this Order is
12
     entered if those assets are derived from any activity that is the subject of the Complaint in
13

14   this matter or that is prohibited by this Order. This Section does not prohibit any transfer

15   of assets to the Receiver or repatriation of assets specifically required by this Order, and
16   does not freeze JPMorgan Bank account X2365.
17
           V.       DUTIES OF ASSET HOLDERS AND OTHER THIRD PARTIES
18
            IT IS FURTHER ORDERED that any financial or brokerage institution,
19

20   Electronic Data Host, credit card processor, Payment Processor, merchant bank,

21   acquiring bank, independent sales organization, third party processor, payment gateway,
22   insurance company, business entity, or Person who receives actual notice of this Order
23
     (by service or otherwise) that:
24
                  (a) has held, controlled, or maintained custody, through an account or
25

26      otherwise, of any Document on behalf of any Defendant or any asset that has been

27      owned or controlled, directly or indirectly, by any Defendant; held, in part or in
28



                                              10
         whole, for the benefit of any Defendant; in the actual or constructive possession of
 1


 2       any Defendant; or owned or controlled by, in the actual or constructive possession of,

 3       or otherwise held for the benefit of, any corporation, partnership, asset protection
 4
         trust, or other entity that is directly or indirectly owned, managed or controlled by any
 S
         Defendant;
 6
                  (b) has held, controlled, or maintained custody, through an account or
 7

 8       otherwise, of any Document or asset associated with credits, debits, or charges made

 9       on behalf of any Defendant, including reserve funds held by payment processors,
10
         credit card processors, merchant banks, acquiring banks, independent sales
11
         organizations, third party processors, payment gateways, insurance companies, or
12
         other entities; or
13

14                (c) has extended credit to any Defendant, including through a credit card

15       account, shall:
16           A.      Hold, preserve, and retain within its control and prohibit the withdrawal,
17
     removal, alteration, assignment, transfer, pledge, encumbrance, disbursement,
18
     dissipation, relinquishment, conversion, sale, or other disposal of any such Document or
19

20   asset, as well as all Documents or other property related to such assets, except by further

21   order of this Court; provided, however, that this provision does not prohibit an individual

22   defendant from incurring charges on a personal credit card established prior to entry of
23
     this Order, up to the pre-existing credit limit;
24
            B.       Deny any Person, except the Receiver, access to any safe deposit box,
25

26   commercial mail box, or storage facility that is titled in the name of any Defendant, either

27   individually or jointly, or otherwise subject to access by any Defendant;

28



                                               11
              C.     Provide Plaintiffs' counsel and the Receiver, within three (3) days of
 1


 2    receiving a copy of this Order, a sworn statement setting forth, for each asset or account

 3    covered by this Section:

                      1.   The identification number of each such account or asset;
 5
                     2. The balance of each such account, or a description        of the nature and
 6
                           value of each such asset as of the close of business on the day on
 7

 8                         which this Order is served, and, if the account or other asset has been

 9                         closed or removed, the date closed or removed, the total funds
10
                           removed in order to close the account, and the name of the Person
11
                           whom such account or other asset was remitted; and
12
                     3. The identification    of any safe deposit box, commercial mail box, or
13

14                         storage facility that is either titled in the name, individually or jointly,

15                         of any Defendant, or is otherwise subject to access by any Defendant;
16                         and
17
             D.      Upon the request of Plaintiffs' counsel or the Receiver, promptly provide
18
     Plaintiffs' counsel and the Receiver with copies of all records or other Documents
19

20   pertaining to any account covered by this Section or asset, including originals or copies

21   of account applications, account statements, signature cards, checks, drafts, deposit
22   tickets, transfers to and from the accounts, including wire transfers and wire transfer
23
     instructions, all other debit and credit instruments or slips, currency transaction reports,
24
     1099 forms, and all logs and records pertaining to safe deposit boxes, commercial mail
25

26   boxes, and storage facilities.

27
28



                                                 12
             This Section does not prohibit any transfer of assets to the Receiver or repatriation
 1


 2   of assets specifically required by this Order.

 3                              VI.      FINANCIAL DISCLOSURES
 4
             IT IS FURTHER ORDERED that each Defendant, within five (5) days of
 5
     service of this Order upon them, shall prepare and deliver to Plaintiffs' counsel and the
 6
     Receiver:
 7

 8           A.      Completed financial statements on the forms attached to this Order as

 9   Attachment B (Financial Statement of Individual Defendant) for each Individual
10
     Defendant, and Attachment C (Financial Statement of Corporate Defendant) for each
11
     Corporate Defendant; and
12
             B.      Completed Attachment D (IRS Form 4506, Request for Copy of a Tax
13

14   Return) for each Defendant.

15                         VII.    FOREIGN ASSET REPATRIATION
16           IT IS FURTHER ORDERED that within five (5) days following the service of
17
     this Order, each Defendant shall:
18
             A.      Provide Plaintiffs' counsel and the Receiver with a full accounting,
19

20   verified under oath and accurate as of the date of this Order, of all assets, Documents, and

21   accounts outside of the United States which are: (1) titled in the name, individually or

22   jointly, of any Defendant; (2) held by any Person for the benefit of any Defendant or for
23
     the benefit of, any corporation, partnership, asset protection trust, or other entity that is
24
     directly or indirectly owned, managed or controlled by any Defendant; or (3) under the
25

26   direct or indirect control, whether jointly or singly, of any Defendant;

27
28



                                               13
              B.     Take all steps necessary to provide Plaintiffs' counsel and the Receiver
 1


 2    access to all Documents and records that may be held by third parties located outside of

 3   the territorial United States of America, including signing the Consent to Release of
 4
      Financial Records appended to this Order as Attachment E.
 5
             C.      Transfer to the territory of the United States any and all Documents and
 6
     assets located in foreign countries which are: (1) titled in the name, individually or
 7

 8   jointly, of any Defendant; (2) held by any Person for the benefit of any Defendant or for

 9   the benefit of, any corporation, partnership, asset protection trust, or other entity that is
10
     directly or indirectly owned, managed or controlled by any Defendant; or (3) under the
11
     direct or indirect control, whether jointly or singly, of any Defendant; and
12
             D.      The same business day as any repatriation, (1) notify the Receiver and
13

14   counsel for Plaintiffs of the name and location of the financial institution or other entity

15   that is the recipient of such Documents or assets; and (2) serve this Order on any such
16   financial institution or other entity.
17
                    VIII. NON-INTERFERENCE WITH REPATRIATION
18
             IT IS FURTHER ORDERED that Defendants, Defendants' officers, agents,
19

20   employees, and attorneys, and all other Persons in active concert or participation with any

21   of them, who receive actual notice of this Order, whether acting directly or indirectly, are
22   hereby temporarily restrained and enjoined from taking any action, directly or indirectly,
23
     which may result in the encumbrance or dissipation of foreign assets, or in the hindrance
24
     of the repatriation required by this Order, including, but not limited to:
25

26           A.      Sending any communication or engaging in any other act, directly or

27   indirectly, that results in a determination by a foreign trustee or other entity that a

28



                                                14
     "duress" event has occurred under the terms of a foreign trust agreement until such time
 I

 2   that all Defendants' assets have been fully repatriated pursuant to this Order; or

 3           B.       Notifying any trustee, protector or other agent of any foreign trust or other
 4
     related entities of either the existence of this Order, or of the fact that repatriation is
 5
     required pursuant to a court order, until such time that all Defendants' assets have been
 6
     fully repatriated pursuant to this Order.
 7

 8                           IX.     CONSUMER CREDIT REPORTS

 9           IT IS FURTHER ORDERED that Plaintiffs may obtain credit reports
10
     concerning any Defendants pursuant to Section 604(a)(1) of the Fair Credit Reporting
11
     Act, 15 U.S.C. 168 lb(a)(l), and that, upon written request, any credit reporting agency
12
     from which such reports are requested shall provide them to Plaintiffs.
13

14                           X.      PRESERVATION OF RECORDS

15           IT IS FURTHER ORDERED that Defendants, Defendants' officers, agents,
16
     employees, and attorneys, and all other Persons in active concert or participation with any
17
     of them, who receive actual notice of this Order, whether acting directly or indirectly, are
18
     hereby temporarily restrained and enjoined from:
19

20           A.      Destroying, erasing, falsifying, writing over, mutilating, concealing,

21   altering, transferring, or otherwise disposing of, in any manner, directly or indirectly,

22   Documents that relate to: (1) the business, business practices, assets, or business or
23
     personal finances of any Defendant; (2) the business practices or finances of entities
24
     directly or indirectly under the control of any Defendant; or (3) the business practices or
25

26   finances of entities directly or indirectly under common control with any other

27   Defendant; and

28



                                                 15
              B.     Failing to create and maintain Documents that, in reasonable detail,
 1


 2   accurately, fairly, and completely reflect Defendants' incomes, disbursements,

 3   transactions, and use of Defendants' assets.
 4
                       Xl.     REPORT OF NEW BUSINESS ACTIVITY
 5
              IT IS FURTHER ORDERED that Defendants, Defendants' officers, agents,
 6
     employees, and attorneys, and all other Persons in active concert or participation with any
 7

 8   of them, who receive actual notice of this Order, whether acting directly or indirectly, are

 9   hereby temporarily restrained and enjoined from creating, operating, or exercising any
10
     control over any business entity, whether newly formed or previously inactive, including
11
     any partnership, limited partnership, joint venture, sole proprietorship, or corporation,
12
     without first providing Plaintiffs' counsel and the Receiver with a written statement
13

14   disclosing: (1) the name of the business entity; (2) the address and telephone number of

15   the business entity; (3) the names of the business entity's officers, directors, principals,

16   managers, and employees; and (4) a detailed description of the business entity's intended
17
     activities.
18
                                 XII.   TEMPORARY RECEIVER
19

20            IT IS FURTHER ORDERED that                                          is appointed as

21   temporary receiver of the Receivership Entities with full powers of an equity receiver.
22   The Receiver shall be solely the agent of this Court in acting as Receiver under this
23
     Order.
24
                      XIII. DUTIES AND AUTHORITY OF RECEIVER
25

26            IT IS FURTHER ORDERED that the Receiver is directed and authorized to

27   accomplish the following:

28



                                               16
             A.      Assume full control of Receivership Entities by removing, as the Receiver
 I

 2   deems necessary or advisable, any director, officer, independent contractor, employee,

 3   attorney, or agent of any Receivership Entity from control of, management of, or
 4
     participation in, the affairs of the Receivership Entity;
 5
             B.      Take exclusive custody, control, and possession of all assets and
 6
     Documents of, or in the possession, custody, or under the control of, any Receivership
 7

 8   Entity, wherever situated;

 9           C.      Take exclusive custody, control, and possession of all Documents or assets
10
     associated with credits, debits, or charges made on behalf of any Receivership Entity,
11
     wherever situated, including reserve funds held by payment processors, credit card
12
     processors, merchant banks, acquiring banks, independent sales organizations, third party
13

14   processors, payment gateways, insurance companies, or other entities;

15           D.      Conserve, hold, manage, and prevent the loss of all assets of the
16
     Receivership Entities, and perform all acts necessary or advisable to preserve the value of
17
     those assets. The Receiver shall assume control over the income and profits therefrom
18
     and all sums of money now or hereafter due or owing to the Receivership Entities. The
19

20   Receiver shall have full power to sue for, collect, and receive, all assets of the

21   Receivership Entities and of other Persons whose interests are now under the direction,
22   possession, custody, or control of, the Receivership Entities. Provided, however, that the
23
     Receiver shall not attempt to collect any amount from a consumer if the Receiver
24
     believes the consumer's debt to the Receivership Entities has resulted from the deceptive
25

26   acts or practices or other violations of law alleged in the Complaint in this matter, without

27   prior Court approval;

28



                                               17
              E.     Obtain, conserve, hold, manage, and prevent the loss of all Documents of
 1


 2   the Receivership Entities, and perform all acts necessary or advisable to preserve such

 3   Documents. The Receiver shall: divert mail; preserve all Documents of the Receivership
 4       ..                 .      .
     Entities that are accessible via electrome means (such as online access to financial
 5
     accounts and access to electronic Documents held onsite or by Electronic Data Hosts, by
 6
     changing usernames, passwords or other log-in credentials); take possession of all

 8   electronic Documents of the Receivership Entities stored onsite or remotely; take

 9   whatever steps necessary to preserve all such Documents; and obtain the assistance of the
10   FTC's Digital Forensic Unit for the purpose of obtaining electronic Documents stored
11
     onsite or remotely.
12
              F.    Choose, engage, and employ attorneys, accountants, appraisers, and other
13

14   independent contractors and technical specialists, as the Receiver deems advisable or

15   necessary in the performance of duties and responsibilities under the authority granted by
16   this Order;
17
              G.    Make payments and disbursements from the receivership estate that are
18
     necessary or advisable for carrying out the directions of, or exercising the authority
19

20   granted by, this Order, and to incur, or authorize the making of, such agreements as may

21   be necessary and advisable in discharging his or her duties as Receiver. The Receiver
22   shall apply to the Court for prior approval of any payment of any debt or obligation
23
     incurred by the Receivership Entities prior to the date of entry of this Order, except
24
     payments that the Receiver deems necessary or advisable to secure assets of the
25

26   Receivership Entities, such as rental payments for business premises?;

27
28



                                              111
             H.      Take all steps necessary to secure and take exclusive custody of each non-
 1


 2   residential location from which the Receivership Entities operate their businesses. Such

 3   steps may include, but are not limited to, any of the following, as the Receiver deems
 4
     necessary or advisable: (1) securing the location by changing the locks and alarm codes
 5
     and disconnecting any internet access or other means of access to the computers, servers,
 6
     internal networks, or other records maintained at that location; and (2) requiring any
 7

 8   persons present at the location to leave the premises, to provide the Receiver with proof

 9   of identification, andlor to demonstrate to the satisfaction of the Receiver that such
10
     persons are not removing from the premises Documents or assets of the Receivership
11
     Entities. Law enforcement personnel, including, but not limited to, police or sheriffs,
12
     may assist the Receiver in implementing these provisions in order to keep the peace and
13

14   maintain security. If requested by the Receiver, the United States Marshal    will   provide

15   appropriate and necessary assistance to the Receiver to implement this Order and is
16
     authorized to use any necessary and reasonable force to do so;
17
             I.      Take all steps necessary to prevent the modification, destruction, or
18
     erasure of any web page or website registered to and operated, in whole or in part, by any
19

20   Defendants, including echeckprocessing.net, and to provide access to all such web page

21   or websites to Plaintiffs' representatives, agents, and assistants, as well as Defendants and

22   their representatives;
23
            J.      Enter into and cancel contracts and purchase insurance as advisable or
24
     necessary;
25

26

27

28



                                              19
             K.       Prevent the inequitable distribution of assets and determine, adjust, and
 1


 2   protect the interests of consumers who have transacted business with the Receivership

 3   Entities;

             L.      Make an accounting, as soon as practicable, of the assets and financial
 5
     condition of the receivership and file the accounting with the Court and deliver copies
 6
     thereof to all parties;

 8           M.      Institute, compromise, adjust, appear in, intervene in, defend, dispose of,

 9   or otherwise become party to any legal action in state, federal or foreign courts or
10
     arbitration proceedings as the Receiver deems necessary and advisable to preserve or
11
     recover the assets of the Receivership Entities, or to carry out the Receiver's mandate
12
     under this Order, including but not limited to, actions challenging fraudulent or voidable
13

14   transfers;

15          N.       Issue subpoenas to obtain Documents and records pertaining to the

16   Receivership, and conduct discovery in this action on behalf of the receivership estate, in
17
     addition to obtaining other discovery as set forth in this Order;
18
            0.       Open one or more bank accounts at designated depositories for funds of
19

20   the Receivership Entities. The Receiver shall deposit all funds of the Receivership

21   Entities in such designated accounts and shall make all payments and disbursements from
22   the receivership estate from such accounts. The Receiver shall serve copies of monthly
23
     account statements on all parties;
24
            P.       Maintain accurate records of all receipts and expenditures incurred as
25

26   Receiver;

27

28



                                              20
             Q.      Allow the Plaintiffs' representatives, agents, and assistants, as well as
 1


 2    Defendants and their representatives, reasonable access to all Documents in the

 3   possession, custody, or control of the Receivership Entities. The purpose of this access
 4
     shall be to inspect and copy any and all books, records, Documents, accounts, and other
 5
     property owned by, or in the possession of, the Receivership Entities or their agents. The
 6
     Receiver shall have the discretion to determine the time, manner, and reasonable
 7

 8   conditions of such access;

 9           R.      Cooperate with reasonable requests for information or assistance from any
10
     state or federal civil or criminal law enforcement agency;
11
             S.      Suspend business operations of the Receivership Entities if in the
12
     judgment of the Receiver such operations cannot be continued legally and profitably;
13

14           T.      If the Receiver identifies a nonparty entity as a Receivership Entity,
15   promptly notify the entity as well as the parties, and inform the entity that it can
16   challenge the Receiver's determination by filing a motion with the Court. Provided,
17
     however, that the Receiver may delay providing such notice until the Receiver has
18
     established control of the nonparty entity and its assets and records, if the Receiver
19

20   determines that notice to the entity or the parties before the Receiver establishes control

21   over the entity may result in the destruction of records, dissipation of assets, or any other
22   obstruction of the Receiver's control of the entity; and
23
            U.      If in the Receiver's judgment the business operations cannot be continued
24
     legally and profitably, take all steps necessary to ensure that any of the Receivership
25

26   Entities' web pages or websites relating to the activities alleged in the Complaint,

27   including echeckprocessing.net, cannot be accessed by the public, or are modified for

28



                                              21
     consumer education and/or informational purposes, and take all steps necessary to ensure
 1


 2   that any telephone numbers associated with the Receivership Entities cannot be accessed

 3   by the public, or are answered solely to provide consumer education or information
 4
     regarding the status of operations.
 5
           XIV. TRANSFER OF RECEIVERSIIIP PROPERTY TO RECEIVER
 6
             IT IS FURThER ORDERED that Defendants and any other Person, with
 7

 8   possession, custody or control of property of, or records relating to, the Receivership

 9   Entities shall, upon notice of this Order by personal service or otherwise, fully cooperate
10   with and assist the Receiver in taking and maintaining possession, custody, or control of
11
     the assets and Documents of the Receivership Entities and immediately transfer or deliver
12
     to the Receiver possession, custody, and control of, the following:
13

14          A.      All assets held by or for the benefit of the Receivership Entities;

15          B.      All Documents or assets associated with credits, debits, or charges made
16   on behalf of any Receivership Entity, wherever situated, including reserve funds held by
17
     payment processors, credit card processors, merchant banks, acquiring banks,
18
     independent sales organizations, third party processors, payment gateways, insurance
19

20   companies, or other entities;

21          C.      All Documents of or pertaining to the Receivership Entities;
22          D.      All computers, electronic devices, mobile devices and machines used to
23
     conduct the business of the Receivership Entities;
24
            E.      All assets and Documents belonging to other Persons whose interests are
25

26   under the direction, possession, custody, or control of the Receivership Entities; and

27
28



                                             22
             F.      All keys, codes, user names and passwords necessary to gain or to secure
 1


 2   access to any assets or Documents of or pertaining to the Receivership Entities, including

 3   access to their business premises, means of communication, accounts, computer systems

     (onsite and remote), Electronic Data Hosts, or other property.
 5
             In the event that any Person or entity fails to deliver or transfer any asset or
 6
     Document, or otherwise fails to comply with any provision of this Section, the Receiver
 7

 8   may file an Affidavit of Non-Compliance regarding the failure and a motion seeking

 9   compliance or a contempt citation.
10
                   XV.      PROVISION OF INFORMATION TO RECEIVER
11
            IT IS FURTHER ORDERED that Defendants shall immediately provide to the
12
     Receiver:
13

14          A.      A list of all assets and accounts of the Receivership Entities that are held

15   in any name other than the name of a Receivership Entity, or by any Person other than a
16
     Receivership Entity;
17
            B.      A list of all agents, employees, officers, attorneys, servants and those
18
     Persons in active concert and participation with the Receivership Entities, or who have
19

20   been associated or done business with the Receivership Entities; and

21          C.      A description of any Documents covered by attorney-client privilege or

22   attorney work product, including files where such Documents are likely to be located,
23
     authors or recipients of such Documents, and search terms likely to identifr such
24
     electronic Documents.
25

26

27

28



                                              23
                        XVI. COOPERATION WITH THE RECEIVER
 1


 2           IT IS FURTHER ORDERED that Defendants; Receivership Entities;
 3   Defendants' or Receivership Entities' officers, agents, employees, and attorneys, all other

     Persons in active concert or participation with any of them, and any other Person with
 5
     possession, custody, or control of property of or records relating to the Receivership
 6
     entities who receive actual notice of this Order shall fully cooperate with and assist the

 8   Receiver. This cooperation and assistance shall include, but is not limited to, providing

 9   information to the Receiver that the Receiver deems necessary to exercise the authority
10
     and discharge the responsibilities of the Receiver under this Order; providing any keys,
11
     codes, user names and passwords required to access any computers, electronic devices,
12
     mobile devices, and machines (onsite or remotely) and any cloud account (including
13

14   specific method to access account) or electronic file in any medium; advising all Persons

15   who owe money to any Receivership Entity that all debts should be paid directly to the
16   Receiver; and transferring funds at the Receiver's direction and producing records related
17
     to the assets and sales of the Receivership Entities.
18
                   XVII.    NON-INTERFERENCE WITH THE RECEIVER
19

20          IT IS FURTHER ORDERED that Defendants; Receivership Entities;

21   Defendants' or Receivership Entities' officers, agents, employees, attorneys, and all other
22   Persons in active concert or participation with any of them, who receive actual notice of
23
     this Order, and any other Person served with a copy of this Order, are hereby restrained
24
     and enjoined from directly or indirectly:
25

26          A.      Interfering with the Receiver's efforts to manage, or take custody, control,

27   or possession of, the assets or Documents subject to the receivership;

28



                                              24
              B.       Transacting any of the business of the Receivership Entities;
 1


 2            C.       Transferring, receiving, altering, selling, encumbering, pledging,

 3   assigning, liquidating, or otherwise disposing of any assets owned, controlled, or in the

     possession or custody of, or in which an interest is held or claimed by, the Receivership
 5
     Entities; or
 6
              D.       Refusing to cooperate with the Receiver or the Receiver's duly authorized

 8   agents in the exercise of their duties or authority under any order of this Court.

9                                       XVIII. STAY OF ACTIONS
10
              IT IS FURTHER ORDERED that, except by leave of this Court, during the
11
     pendency of the receivership ordered herein, Defendants, Defendants' officers, agents,
12
     employees, attorneys, and all other Persons in active concert or participation with any of
13

14   them, who receive actual notice of this Order, and their corporations, subsidiaries,

15   divisions, or affiliates, and all investors, creditors, stockholders, lessors, customers and

16   other Persons seeking to establish or enforce any claim, right, or interest against or on
17
     behalf of Defendants, and all others acting for or on behalf of such Persons, are hereby
18
     enjoined from taking action that would interfere with the exclusive jurisdiction of this
19

20   Court over the assets or Documents of the Receivership Entities, including, but not

21   limited to:

22           A.       Filing or assisting in the filing of a petition for relief under the Bankruptcy
23
     Code,   11   U.S.C.   § 101 et seq.,   or of any similar insolvency proceeding on behalf of the
24
     Receivership Entities;
25

26           B.       Commencing, prosecuting, or continuing a judicial, administrative, or

27   other action or proceeding against the Receivership Entities, including the issuance or

28



                                                    25
     employment of process against the Receivership Entities, except that such actions may be
 1


2    commenced if necessary to toll any applicable statute of limitations;

3            C.      Filing or enforcing any lien on any asset of the Receivership Entities,
4
     taking or attempting to take possession, custody, or control of any asset of the
5
     Receivership Entities; or attempting to foreclose, forfeit, alter, or terminate any interest in
6
     any asset of the Receivership Entities, whether such acts are part of a judicial proceeding,
7

8    are acts of self-help, or otherwise.

9           Provided, however, that this Order does not stay: (1) the commencement or
10
     continuation of a criminal action or proceeding; (2) the commencement or continuation of
11
     an action or proceeding by a governmental unit to enforce such governmental unit's
12
     police or regulatory power; or (3) the enforcement of ajudgment, other than a money
13

14   judgment, obtained in an action or proceeding by a governmental imit to enforce such

15   governmental unit's police or regulatory power.
16
                            XIX. COMPENSATION OF RECEIVER
17
            IT IS FURTHER ORDERED that the Receiver and all personnel hired by the
18
     Receiver as herein authorized, including counsel to the Receiver and accountants, are
19

20   entitled to reasonable compensation for the performance of duties pursuant to this Order

21   and for the cost of actual out-of-pocket expenses incurred by them, from the assets now

22   held by, in the possession or control of, or which may be received by, the Receivership
23
     Entities. The Receiver shall file with the Court and serve on the parties periodic requests
24
     for the payment of such reasonable compensation, with the first such request filed no
25

26   more than sixty (60) days after the date of entry of this Order. The Receiver shall not

27
28



                                               26
     increase the hourly rates used as the bases for such fee applications without prior
1


2    approval of the Court.

3                                  XX.     RECEIVER'S BOND
4
             IT IS FURTHER ORDERED that the Receiver shall file with the Clerk of this
5
     Court a bond in the sum of                   with sureties to be approved by the Court,
6
     conditioned that the Receiver will well and truly perform the duties of the office and
7

8    abide by and perform all acts the Court directs. 28 U.S.C.   §   754.

9                          XXI. ACCESS TO BUSINESS RECORDS
10
             IT IS FURTHER ORDERED that Defendants allow the Receiver and the
11
     Receiver's employees and agents immediate access to Corporate Defendants' business
12
     premises, including to Corporate Defendants' listed address at 12282 Eagle Heart Dr., El
13

14   Paso, TX, for the purpose of serving the Order on Defendants and to take immediate

15   possession of and inventory of all Documents that are business records of the Corporate
16   Defendants.
17
            A.      The Receiver and the Receiver's employees and agents are authorized to
18
     employ the assistance of law enforcement officers, as they deem necessary to effect
19

20   service of this Order and to ensure their safety when taking possession of and

21   inventorying Documents at the Corporate Defendants' business premises, including at
22   12282 Eagle Heart Dr., El Paso, TX. The United States Marshals Service is directed to
23
     assist the Receiver and the Receiver's employees and agents in carrying out the
24
     provisions of this Section.
25

26          B.      The Receiver shall take immediate possession of any electronic

27   information storage device, personal or laptop computer, server, or tablet that holds

28



                                             27
     information of the Corporate Defendants. If Defendants maintain electronic business
 1


2    records with any Electronic Data Host, Defendants will immediately provide the Receiver

3    with information sufficient to access and secure such electronic business records.
4
     Furthermore, the Receiver is allowed to request that FTC employees and agents to access,
5
     secure, copy, and download such business records on behalf of the Receiver.
6
            C.      Immediately upon receiving notice of this Order, Defendants must provide
7

8    the Receiver with the address of all business premises, mail drops, or other addresses

9    used by the Corporate Defendants, including any addresses where employees of the
10
     Corporate Defendants work from. Furthermore, Defendants and all employees of the
11
     Corporate Defendants upon receiving notice of this Order shall provide the Receiver and
12
     the Receiver's employees and agents with immediate and unencumbered access to all
13

14   business records at those locations for the purpose of taking possession of and

15   inventorying the Corporate Defendants' business records, including all Documents that
16   may be related to this action, including all records of the Corporate Defendants and all
17
     records of any payments or assets received by the Individual Defendants derived from the
18
     Corporate Defendants.
19

20          D.      After the Receiver has taken possession of, secured and taken inventory of

21   Corporate Defendants business records, the Receiver shall allow Plaintiffs employees and

22   agents to inspect and copy these records. If necessary, the Receiver may allow Plaintiffs
23
     to take possession of some Documents for copying. Plaintiffs shall return such
24
     documents within three (3) business days of completing said copying. Production of
25

26
     Documents to the Plaintiffs by the Receiver pursuant to this Order shall not provide

27   grounds for any Defendant to object to any subsequent request for Documents served by

28
     Plaintiffs.
1


2                   XXII. DISTRIBUTION OF ORDER BY DEFENDANTS

3            IT IS FURTHER ORDERED that Defendants shall immediately provide a copy
4
     of this Order to each affiliate, telemarketer, marketer, sales entity, successor, assign,
5
     member, officer, director, employee, agent, independent contractor, client, attorney,
6
     spouse, subsidiary, division, and representative of any Defendant, and shall, within ten
7

8    (10) days from the date of entry of this Order, and provide Plaintiffs and the Receiver

9    with a sworn statement that this provision of the Order has been satisfied, which
10
     statement shall include the names, physical addresses, phone number, and email
11
     addresses of each such Person who received a copy of the Order. Furthermore,
12
     Defendants shall not take any action that would encourage officers, agents, members,
13

14   directors, employees, salespersons, independent contractors, attorneys, subsidiaries,

15   affiliates, successors, assigns or other Persons in active concert or participation with them
16   to disregard this Order or believe that they are not bound by its provisions.
17
                                XXIII. EXPEDITED DISCOVERY
18
             IT IS FURTHER ORDERED that, notwithstanding the provisions of the Fed. R.
19

20   Civ. P. 26(d) and (f) and 30(a)(2)(A)(iii), and pursuant to Fed. R. Civ. P. 30(a), 34, and

21   45, Plaintiffs and the Receiver are granted leave, at any time after service of this Order, to

22   conduct limited expedited discovery for the purpose of discovering: (1) the nature,
23
     location, status, and extent of Defendants' assets; (2) the nature, location, and extent of
24
     Defendants' business transactions and operations; (3) Documents reflecting Defendants'
25

26   business transactions and operations; or (4) compliance with this Order. The limited

27   expedited discovery set forth in this Section shall proceed as follows:

28



                                               29
               A.     Plaintiffs and the Receiver may take the deposition of parties and non-
1


2    parties. Forty-eight (48) hours' notice shall be sufficient notice for such depositions. The

3    limitations and conditions set forth in Rules 30(a)(2)(B) and 31 (a)(2)(B) of the Federal
4
     Rules of Civil Procedure regarding subsequent depositions of an individual shall not
5
     apply to depositions taken pursuant to this Section. Any such deposition taken pursuant
6
     to this Section shall not be counted towards the deposition limit set forth in Rules
7

8    3 0(a)(2)(A)   and 31 (a)(2)(A) and depositions may be taken by telephone or other remote

9    electronic means;
10             B.     Plaintiffs and the Receiver may serve upon parties requests for production
11
     of Documents or inspection that require production or inspection within five (5) days of
12
     service, provided, however, that three (3) days of notice shall be deemed sufficient for the
13

14   production of any such Documents that are maintained or stored only in an electronic

15   format.

16             C.     Plaintiffs and the Receiver may serve upon parties interrogatories that
17
     require response within five (5) days after Plaintiffs serves such interrogatories;
18
               D.     The Plaintiffs and the Receiver may serve subpoenas upon non-parties that
19

20   direct production or inspection within five (5) days of service.

21             E.     Service of discovery upon a party to this action, taken pursuant to this

22   Section, shall be sufficient if made by facsimile, email, or by overnight delivery.
23
               F.     Any expedited discovery taken pursuant to this Section is in addition to,
24
     and is not subject to, the limits on discovery set forth in the Federal Rules of Civil
25

26   Procedure and the Local Rules of this Court. The expedited discovery permitted by this

27

28



                                               30
     Section does not require a meeting or conference of the parties, pursuant to Rules 26(d) &
1


2    (f) of the Federal Rules of Civil Procedure.

3            G.      The Parties are exempted from making initial disclosures under Fed. R.
4
     Civ. P. 26(a)(1) until further order of this Court.
5
                               XXIV. SERVICE OF THIS ORDER
6
             IT IS FURTHER ORDERED that copies of this Order as well as the Motion for
7

8    Temporary Restraining Order and all other pleadings, Documents, and exhibits filed

9    contemporaneously with that Motion (other than the complaint and summons), may be
10
     served by any means, including facsimile transmission, electronic mail or other electronic
11
     messaging, personal or overnight delivery, U.S. Mail or FedEx, by agents and employees
12
     of Plaintiffs, by any law enforcement agency, or by private process server, upon any
13

14   Defendant or any Person (including any financial institution) that may have possession,

15   custody or control of any asset or Document of any Defendant, or that may be subject to

16   any provision of this Order pursuant to Rule 65(d)(2) of the Federal Rules of Civil
17
     Procedure. For purposes of this Section, service upon any branch, subsidiary, affiliate or
18
     office of any entity shall effect service upon the entire entity.
19

20                XXV. CORRESPONDENCE AND SERVICE ON PLAINTIFFS

21           IT IS FURTHER ORDERED that, for the purpose of this Order, all
22   correspondence and service of pleadings on Plaintiffs shall be addressed to:
23
             Christopher E. Brown
24           J. Ronald Brooke, Jr.
             Federal Trade Commission
25           600 Pennsylvania Avenue, NW (CC-8528)
26           Washington, DC 20580
             Fax: 202-326-3395
27           Email: cbrown3 ftc.gov; jbrookeftc.gov

28



                                               31
            Jeffrey Loeser (Ohio Bar #82 144)
1
            Erin Leahy (Ohio Bar #69509)
2           Assistant Attorneys General
            Consumer Protection Section
3           30 E. Broad Street, 14th Floor
            Columbus, Ohio 43215
4
            Email: jeff.loeserOhioAttorneyGeneral.gov;
5    erin.leahyOhioAttorneyGeneral.gov

6
                       XXVI. PRELIMINARY INJUNCTION HEARING
7

8           IT IS FURTHER ORDERED that, pursuant to Fed. R. Civ. P. 65(b), Defendants
9    shall appear before this Court on the             day of                     ,   2019, at
10
                    to show cause, if there is any, why this Court should not enter a
11
     preliminary injunction, pending final ruling on the Complaint against Defendants,
12
     enjoining the violations of the law alleged in the Complaint, continuing the freeze of their
13

14   assets, continuing the receivership, and imposing such additional relief as may be

15   appropriate.
16
                     XXVII. BRIEFS AND AFFIDAVITS CONCERNING
17                           PRELIMINARY INJUNCTION

18          A.      Defendants shall file with the Court and serve on Plaintiffs' counsel any
19
     answering pleadings, affidavits, motions, expert reports or declarations, or legal
20
     memoranda no later than four (4) days prior to the order to show cause hearing scheduled
21
     pursuant to this Order. Plaintiffs may file responsive or supplemental pleadings,
22

23   materials, affidavits, or memoranda with the Court and serve the same on counsel for

24   Defendants no later than one (1) day prior to the order to show Cause hearing. Provided
25   that such affidavits, pleadings, motions, expert reports, declarations, legal memoranda or
26
     oppositions must be served by personal or overnight delivery, facsimile or email, and be
27

28



                                              32
     received by the other party or parties no later than 5:00 p.m. PST on the appropriate dates
1


2    set forth in this Section.

3            B.      An evidentiary hearing on Plaintiffs' request for a preliminary injunction
4
     is not necessary unless Defendants demonstrate that they have, and intend to introduce,
5
     evidence that raises a genuine and material factual issue. The question of whether this
6
     Court should enter a preliminary injunction shall be resolved on the pleadings,
7

8    declarations, exhibits, and memoranda filed by, and oral argument of, the parties.

9            C.      Live testimony shall be heard only on further order of this Court. Any
10
     motion to permit such testimony shall be filed with the Court and served on counsel for
11
     the other parties at least five (5) days prior to the preliminary injunction hearing in this
12
     matter. Such motion shall set forth the name, address, and telephone number of each
13

14   proposed witness, a detailed summary or affidavit revealing the substance of each

15   proposed witness's expected testimony, and an explanation of why the taking of live
16   testimony would be helpful to this Court. Any papers opposing a timely motion to
17
     present live testimony or to present live testimony in response to another party's timely
18
     motion to present live testimony shall be filed with this Court and served on the other
19

20   parties at least three (3) days prior to the order to show cause hearing.

21           Provided, however, that service shall be performed by personal or overnight
22   delivery, facsimile or email, and Documents shall be delivered so that they shall be
23
     received by the other parties no later than 5:00 p.m. MDT on the appropriate dates
24
     provided in this Section.
25

26

27

28



                                               33
                                XXVIII. DURATION OF THE ORDER
1



2           IT IS FURTHER ORDERED that this Order shall expire fourteen (14) days

3    from the date of entry noted below, unless within such time, the Order is extended for an
4
     additional period pursuant to Fed. R. Civ. P. 65(b)(2).
5
                            XXIX. RETENTION OF JURISDICTION
6
            IT IS FURTHER ORDERED that this Court shall retain jurisdiction of this
7

8    matter for all purposes.

9

10
            SO ORDERED, this                   day of                     2019, at
11
               .m.
12

13

14
                                                   UNITED STATES DISTRICT JUDGE
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